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RoBERT C. GILL,

Plaintiff, Case No. 05-2265 D P
vs.

W. W. HERENTON, in his official capacity
as Mayor of the City of Mernphis, et al.,

Defendants.

 

ORDER TO SHOW CAUSE

 

On May 2, 2005, Defendant filed a Motion for Partial Summary Judg,rnent on the Pleading
to Disrniss Punitive Damages Claims Against City of Memphis pursuant to Fed.R.Civ.P. 56.
Plaintiff has yet to respond to Defendant’s Motion for Partial Surnrnary Judgment. Local Rule
7 .2(a)(2) allows the nonmoving party thirty (30) days after service of a motion under Fed.R.Civ.P.
lZ(b) or 56, in which to file a response With the Coult.

Therefore, the Court hereby orders Plaintiff to show cause Why Defendant’s Motion for
Summary Judgrnent should not be decided on the existing record. Plaintiff has fifteen (15) days
from the entry of this order in Which to file a response IfPlaintiff fails to respond, the motion will

be decided on the existing record without further notice.

IT IS SO ORDERED this l 91 day of @5¢ j 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CV-02265 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

